                           IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE MIDDLE DISTRICT OF TENNESSEE

IN RE:                                                  )
                                                        )        CHAPTER:           13
JETHRO AND JENNIFER THURSTON                            )        CASE NO.:          20-00625
5187 MURFREESBORO ROAD                                  )        JUDGE:             MASHBURN
LEBANON, TN 37090                                       )
SSN: XXX-XX-0803/8042                                   )
  Debtors.                                              )
                                                        )
                                                        )

               MOTION TO VOLUNTARILY DISMISS CHAPTER 13 BANKRUPTCY

          COME the Debtors, through counsel, and pursuant to 11 U.S.C. §1307(b) and Local Rule 1017-2(d),

moves the Court to dismiss the above styled Chapter 13 case.

Respectfully submitted,


/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339
Attorney for Debtor(s)
405 1/2 A 31st Ave. N.
Nashville, TN 37209
Phone:(615) 297-2400
Fax:(615) 634-0241
wilsonlgl@hotmail.com


                                      CERTIFICATE OF SERVICE

          I certify that on this 23rd day of June, 2020, I served a copy of the foregoing in the following
manner:

Email by Electronic Case Noticing to:

Asst. U.S. Trustee
Henry E. Hildebrand, III, Chapter 13 Trustee

By U.S. Postal Service, postage prepaid to:

To the Debtors’ address referenced above and to all parties-in-interest per the below amended matrix.

/s/ Scott D. Wilson
SCOTT D. WILSON, NO. 20339

24 TOTAL FIRST CLASS MAILINGS: $24.00



Case 3:20-bk-00625          Doc 48      Filed 06/23/20 Entered 06/23/20 11:19:57                Desc Main
                                        Document     Page 1 of 4
                     Ascendium Education Solutions, Inc
                     PO Box 8961
                     Madison WI 53708-8961
                     AT&T Mobility II LLC
                     %AT&T SERVICES INC.
                     KAREN A. CAVAGNARO PARALEGAL
                     ONE AT&T WAY, SUITE 3A104
                     BEDMINSTER, NJ. 07921
                     Bridgecrest credit company, LLC
                     PO Box 29018
                     Phoenix AZ 85038
                     CashNetUSA
                     175 W Jackson Blvd
                     Suite 1000
                     Chicago, IL 60604
                     Check Into Cash
                     201 Keith St SW
                     Suite 80
                     Cleveland, TN 37311
                     Directv, LLC
                     by American InfoSource as agent
                     PO Box 5008
                     Carol Stream, IL 60197-5008
                     FOX COLLECTION CENTER
                     PO BOX 528
                     GOODLETTSVILLE, TN 37070
                     Great Lakes Higher Education Corporation
                     c/o The United States Attorney s Office
                     110 9th Ave S # A961
                     Nashville TN 37203
                     Harpeth Financial Services, LLC
                     c/o The Hill Firm PLLC
                     PO Box 150529
                     Nashville, TN 37215
                     INTERNAL REVENUE SERVICE
                     CENTRALIZED INSOLVENCY OPERATIONS
                     PO BOX 7346
                     Philadelphia PA 19101-7346
                     J & L SALES AND RENTALS LLC
                     PO BOX 146
                     Paris TN 38242



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                     LVNV Funding, LLC
                     Resurgent Capital Services
                     PO Box 10587
                     Greenville, SC 29603-0587
                     Massey's
                     c/o Creditors Bankruptcy Service
                     P.O. Box 800849
                     Dallas, TX 75380
                     Midnight Velvet
                     c/o Creditors Bankruptcy Service
                     P.O. Box 800849
                     Dallas, TX 75380
                     National Credit Adjusters, LLC
                     Attn: Bankruptcy Department
                     P.O. Box 3023
                     Hutchinson, KS. 67504
                     Pendrick Capital Partners II, LLC
                     Peritus Portfolio Services II, LLC
                     PO BOX 141419
                     IRVING, TX 75014-1419
                     Portfolio Recovery Associates, LLC
                     POB 12914
                     Norfolk VA 23541
                     Jefferson Capital Systems LLC Assignee
                     Po Box 772813
                     Chicago Il 60677-2813
                     Scolopax, LLC
                     C O WEINSTEIN & RILEY, PS
                     2001 WESTERN AVENUE, STE 400
                     Seattle, WA 98121
                     Tea Olive, LLC
                     PO BOX 1931
                     Burlingame, CA 94011
                     Tennessee Quick Cash, Inc.
                     c/o Barry J Gammons
                     P.O. Box 330610
                     Nashville, TN 37203
                     Total Visa/Bank of Missouri
                     Attn: Bankruptcy
                     Po Box 85710
                     Sioux Falls SD 57118



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                                Document     Page 3 of 4
                     World Finance Corp. c/o World Acceptance Corp.
                     Attn: Bankruptcy Processing Center
                     PO Box 6429
                     Greenville, SC 29606




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